    F
d     Case 1:18-cr-20880-DPG Document 8 Entered on FLSD Docket 11/21/2018 Page 1 of 5
(Rev.03/2016)
                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLOIUDA

                                          A PPEAR AN CE BO ND T- .


UNI
  TEDST         ATES OF AM EIUCA :
                                                  CASENO.
                                                        :Iz
                                                          l--z:
                                                              '
                                                              îzynoc.c tt
                                                                        A /z
                                                                           y
                       Plaintiff,
M.
    B-uJ 11amm. P 'aJcr.
        .
                                                            l. . ,,-
                                                                       /6/3//-/0(
                        D efendant,


1,thetmdersigned defendantand Iorwe,theundersigned sttreties, jointly andseverally acknowledgethatweal
                                                                                                     ld
ouzpersonalrepresentatives,jointly andseverally,arebolmdtopaytheUnitedStatesofAmericw thesllm of
$ IV& ?ooo. P SO D'f-fV e.
                                      STANDARD CONDITIONS OF BOND
Theconditionsofthisbond arethattlledefendant:

    1. Shall appear before this court and at such other places as the defendant m ay be required to appear, ill
accordance w1t11any and a1l orders and direcions relating to the defendant's appearance in tltis case, includillg
appearanceforviolation ofa condiéon ofthe defendnnt'srele%e asmay beordered ornotifed bythiscourtorarly
otherUnitedSGtesDisd ctCourtto which thedefendantmaybeheldtoanswerorthecausetransfen'ed. Thedefendant
isto abideby anyjudm ententered insuch matterby surrendelingtoserveanysentenceimposedand obeyingany
orderordirectionin connectionwith suchjudm ent.Tllisisacontinuingbont includinganyproceedingonappealor
reviewswhich shallremain i:lftzllforceandesectuntilsuch timeasthecout'tshallorderotherwke.
     2. M aynotatanytim e,forany reason whatever,leavetheSouthern DistrictofFloridaorotherDistrictto which
thecasemayberemovedortansferredafterheorshehasappearedi!lstic.llDiâtrictpursllnnttotheconditiorlsofthis
bond,withoutflrstobtniningwritten permission 9om thecourtexceptthatadefendantordered rem ovedortransfen.   ed
to anotherdistrictmaykavelto thatclistrictasreqe edforcourtappearancesarldtrialpreparation upon m itten noéce
to the Clerk ofthisCOUIIorthe courtto which the case hasbeen removed orkansferred. The Southem Districtof
Floridacorlsistsofthefollowingcotmties:M onroe,M iami-Dade,Broward, Palm B each,M artin,St.Lucie,Indian
R iver,O keechobee,and H ighlands.

       M aynotchangehisorherpresentaddressasrecordedon thisbondwithoutpriorpermissionin writing9om
the court.

    4. Isrequizedtoappearin courtata11timesasrequired by noticegivenby thecourtoritsclerktotheaddress
on tb-isbond orLn open cottrtort:theaddressaschanged bypermission âom thecourt.Thedefendantisrequired
                            .

to ascertain from the Clerk ofCourtordefense cotmselthe tim e and place ofa11schedtzled proceedings on the
case.ln no eventm ay a defendantasstunethatllisorhercasehasbeen dismissed lmlessthecourthasentered an
orderofdismissal.

    5. The defendant m ust cooperate w ith law enforcem ent oo cers in the collection of a DN A snm ple ifthe
collection isrequired by 42 U .S.C.Section 14135a.

        6. Shallnotcom mitany actinviolation ofstateorfederallawj.
    Case 1:18-cr-20880-DPG Document 8 Entered on FLSD Docket 11/21/2018 Page 2 of 5
                                                             DEFENDANT: QkJtl/zveoc P 7'*J CM
                                                         CASE NUM BER :
                                                                          PA G E TW O
                                   SPE CIAT,CO N DITIO N S O F BO N D
In addition to compliance with the previously stated conditions ofbond,the defendantmustcomply with the
speci conditionschecked below :
     a.Surrenderallpassports and traveldocllments,ifany,to the PretrialServices Office and notobtain ally
        raveldocum entsduring thependency o        c e;
    b.ReporttoPretrialServicesasfollows.( asdirectdor- timels) a wcck inpersonand- timels)a
      wcckby telephone;
    c.Submittosubstanceabusetesting and/ortreatment;
    d.R egain f'
               rom excessive use of alcohol,or any use of a narcotic dnzg or other controlled substance,as
         defined in section 102 oftheControlled SubstancesAct(21U.S.C.j802),withoutaprescription by a
      licensed m edicalpractitioner;
    e.Participatein mentalhealth assessmentand/ortreatment;
    f.Participate andundergo asex offensespecificevaluation and treatm ent;
    g.M aintain oractively seek full-tim eemployment;
    h.M aintain orbegin an educationalprow nm ;
    i.Avoid a11contactwith victimsoforwitnejsestothecrim escharged,exceptthzough cotmsel;
    j efrainfrom possessingafirearm,destnlctivedeviceorotherdangerousweapons'
                                                                            ,
    k.None ofthesignatoriesmay sell,pledge,mortgage,hypothecate,encllmber,etc.,any property they own
           tilthebondisdischarged,orotherwisemodifiedbytheCourq                 (0 -q-Nf-
                                                                                        / t)o<  '

                                                                                                    .

     .   M ay notvisitcom m ercialknnsportation establishm ent:airports,seaport/m arinas,c m ercial us terminals,
         r/wfn stations,etc.;
    m.Noaccesstotheinternetviaanytypeofcormectivitydevice(i.e.,computers,pda'
                                                                            s,cellularphones,rp'
                                                                                               J),
       and follow ins% ctionsasoutlined in the agreem entw aiverprovided to you by PretrialServices;
    n.H O M E C O NFIN EM EN T PR O GR AM The defendant shallparticipate in one of the follow ing hom e
         cov nementprogrnm componentsand abideby al1therequirementsoftheprogram which ( )willnot
         or( )willincludeelectronicmoxlitoringorotherlocation verïcationsystem,paid forby thedefendant
         basedupon his/herability topay ( )orpaidforby PretrialServices( ).
            Curfew:Y ou arerestridedto yourresidenceevely day 9om      to     .orasdirectedby theCourt-
            HomeDetention:You areresz ctedto yourresidence atalltimesexceptfor:( )medicalneedsor
            treatment,( )courtappearances,( )attorneyvisitsorcourtordered obligations,and
            ( )Other
    o.H AT,FW A Y H O U SE PLA CEM ENT The defendant shall reside at a halfway house or com m llnity
      corrections centerand abide by a1lthe nzlesand regulations ofthe program .
         Youarerestrictedtothehalfwayhouseatal1timesexceptfor:( )employment;( )education;
         ( )religiousservices;( )medical,substanceabuse,ormentalhealthtreatment;( )attorney visits;
         ( )courtappearances;( )courtordered obligations;( )reporting to PretrialServices;and
         ( )Other
    p.M ay travelto and from :-     ,   and m ust notify Pretrial Services of travelplans before leaving and upon
         return.
    q.Com ply w ith the follow ing additionalconditionsofbond:
*
     Case 1:18-cr-20880-DPG Document 8 Entered on FLSD Docket 11/21/2018 Page 3 of 5
                                                            DEFENDANT: 'J'qa hb
                                                                              'tc'nnq- P'
                                                                                        'rvc.hf-'x-
                                                            C ASE N U m ER :
                                                                           PA GE TH R EE

                     PENALTIEjAND SANCTIONSAPPLICABLE TO DEFENDANT
        Violationofany oftheforegoing condiéonsofreleasemayrestzltilltheimmediateissuanceofawarrantforthe
defendant'sarrestrarevocation ofrelease,an orderofdetentiop asprovidedin 18U .S.
                                                                               C.53148,forfeitureofanybail
posted,and a prosecufon forcontempt asprovided in 18 U.S.C.j401,which could resul    tillapossibletenu of
im prisonm entora fme.

        The commission of any offense while on pretrial rele% e may result in an additional sentence upon
conviction forsuch offensetoaterm ofimprisonmentofnotm orethantenyears, iftheoffenseisafelony;oraterm
ofimprisonmentofnotmoreth% one year,ifthe ofense isamisdemeanor. Thissentenceshallbe consecutiveto
any othersentenceandmustbeim posedin additiontothesentencereceivedfortlw ofenseitself.

       Title 18U.S.C.51503 makesitacriminaloffensepmishableby up to fiveyearsofimplisonmentand a
$250,*
     000lineto intimidateorattemptto hltimidateawim ess, jurororofficerofthecourt;18U.
                                                                                     S.C.j1510makesit
a cn'minalo/ense plnishable by up to five years of impdsonm ent and a $250,000 fme to obstruct a criminal
ùwestigation;18U.S.C.j1512makesitacn'minaloffensepmishablebyup to ten yearsofimprisonmentand a
$250,000 fne to tamper w1t11a witness,victim or informant;and 18 U S.C.51513 makesitacn'
                                                                         .
                                                                                          minalofense
punishablebyup to ten yearsofimplisonmentand a$250,000fmetoreO iateagninqtawim ess, victim orinform anto
ortbreatentodo so.

       Itisacriminaloffensetmder18U.S.C.53146,ifafterhavingbeenreleasedothedefendmltknowinglyfailsto
appearasrequiredbytheconditiorlsofrele% e,orto surrenderfortheserviceofsentencepuzsllanttoacourtorder. If
thedefendantwasreleasedin colmectionw1t11achargeot orwhileawaitingsentence,surrenderfortheserviceofa
sentence,orappealorcertiorariafterconviction for:

    (1)an offensepuaishableby death,lifeimprisonment,orimprisonmentforaterm offifteen yearsormore
       thedefendantshallbesned notmorethan $250,000 orimprisoned fornotmoret11m1ten years, orboth;
    (2)alloffensepllnishableby imprisonmentforaterm offiveyearsormore,butlessthanfifteenyears,the
       defendantshallbefined notmorethan $250,000 orimprisoned fornotm orethallfiveyears, orboth;
    (3)any otherfelony,thedefendantshallbefinednotmorethan $250,000orimprisonednotmorethantwo
       years,orboth;
    (4)amisdemeanor,thedefendantshallbefined notmorethan $100,000 orimprisoned notmoreth:11 one             .

       year,orboth.

        A term ofimprisomnentimposed forfailureto appearorsurrendershallbe consecutiveto thesentenceof
im prisonm entfor any otheroffense.ln additiono a faillzre to appearm ay resultin the forfeiture of any bailposted,
wllich meansthatthedefendant* 1be obligated to pay the:111amountofthebond, whichm ay be ersforced by a11
applicable law softhe Urlited Sàtes.
     Case 1:18-cr-20880-DPG Document 8 Entered on FLSD Docket 11/21/2018 Page 4 of 5
                                                                                     DEFENDANT: 'J'q-p ticn nn c '
                                                                                                                 Pk',-xJ ec.'
                                                                                     CA SE NU M BER :
                                                                                                     PA G E FO U R
                             PENALTIES AND SANCTIONS APPLICABLE TO SURETIES
Violation by thedefendantofanyoftheforegoingconditionsofreleasewillresultinan immediateobligation bythesurety orsureties
topaythefullamountofthebond.Forfeitureofthebondforanybreachofoneormoreconditionsmaybedeclared byajudicial
officerofanyUnitedStatesDistrictCourthavhlg cognizanceoftheaboveentitledmatteratthetimeofsuchbreach,and ifthebondis
forfeited and theforfeitureisnotsetasideorremitted,judgmentmaybeenteredupon motioninsuchUnitedStatesDistdctCourt
againsteachsuretyjointlyandseverallyfortheamountofthebont togetherwithinterestandcosts,andexecutionmaybeissuedand
paymentsecured asprovidedbytheFedçralRulesofCriminalProcedtlre andotherlawsoftheUnited States.
                                                       SIGNATUQES
Ihavecarefully read andImiderstandthisentireapperancebondconsisting offom pages,orithasbeenreadtome,and,ifnecessmy
translated into my nativelanglmge,and 1know that1am obligated by 1aw to comply with a1lofthetermsofthisbond.lpromiseto
obey al1conditionsofthisbond,to appearin courtasrequired,andtosurrenderforserviceofany sentencehnposed.1am awareofthç
penaltiesand sanctionsoutlined in thisbondforviolationscfthetermsofthebond.
IfIam an agentacting fororon behalfofa corporatesurety,IfurtherrepreientthatIam aduly authorized agentforthe corporate
stlretyand havefullpowerto executethisbondintheamotmtstated.

 NOTE:Page5 ofthlsform M 'UST becom pleted beforethe bondw illbeaccepted forfiling.
                                                                          DEFEND ANT                                                             .
                                                                                                                                                 ,
                   k&
 Signedthts tJU'dayof4 .zc...
 Si                         ,llacn                                    ,20ù5 at           ;c '
                                                                                            ,              ,Florida                    X-    t' '
  r ed d          owled              lvm e:                                              ,     '                 . .         z
                      ,
                                                                                                                  -          d1          .
                                  itnes                                                            City                              State

                                                                       CORPORATE SURETY
 Signedthk                dayof                                       ,20   at                             ,Florida
 SIJRE'
      I'Y:                .                                                      AGENT:(Signature)
                                                                                 PRINT NW          :
          (zity                                       State

                                                                      INDIVD UAL SURETV S
 Sir edthis       dayof               ,20                                ,Florida Sir edthis dayof                ,20   at                   ,Florida
 SURE'
     I'Y:('                .r                                                    SIJRE'
                                                                                      I'Y:tsignaturel
                              /                                                                            .            -
 pm xrx- :                                                                       emxrx- :                                        <
 RELATION- TOOEFEND                             :l.ui=,rc                        Rstam oxslllpTopzyExowv :R je
 m f'oxpsl City                                        CKState '                 /.%vvlrfmaCi
                                                                                           nlty                         -        'q
                                                                                                                             ---State

 Signedthis       dayof                   ,20    at                      ,Flolida Signedthis       dayof          ,20   at                   ,Florida
 SURE'
     I'Y:(Signature)                                                             SURE'
                                                                                     I'Y:tsignaturel
 PRINT NAM E:                                                                     PRINT NW         :
 RELATIONSO TO DEFENDANT:                                                        RELG ONSTIP TODEFENDANT:

                  (lity                                       State                                (zity                             State

                                                              A PPR O VA L BY TH E O U RT
 oate:             tj. y) --
                           yz.
                             )k
                                                                                   IJNITE STATESVAGISTRATE JIJDGE
                                                                                     #


                                                                                     JONATHA. QOODMAN
Case 1:18-cr-20880-DPG Document 8 Entered on FLSD Docket 11/21/2018 Page 5 of 5


                         United States D istrict Court
                         S outhern D istrict of Florida

             CaseNumber: In-w onso ce ajle
          SUPPLEM ENTAL ATTACHM ENTIS)
 Please referto supplem entalpaper''coud file''in the division w here
 the Judge is cham bered.These attachm ents m ustnotbe placed in
 the ''chron file''

 Documents Retained in SunnlementalCase Files (Scanned orNotScannéd)
 CivilCase D ocum ents
     *
         Handwritten documents/pleadings (i.e.,pro se).
     * Poorquality scanned im ages
     .Photographs
     * CD,DVD,VHS t   apes,cassette tapes
     * Surety bonds
     *
         Exhibitsthatcannotbe scanned (e.g.,objects)
     *Bound extradition papers
     . Jur
         y verdict
     *Jurynotes (unredacted)
     *
       Juryselection materials (seating charts,challenges,etc.)
 CriminalCase b-ocuments
     *
       Handwritten documents/pleadings (i.e.,pro se)
     @Poàrqualityscanned images
     . Photographs
          , DVD,VHS Tape,Casset
                              te Tapes
     .

     . Bond docum entat
                      ion
     .
         Exhibitsthatcannotbescanned (e.g.,objects)
     @Indictm ents
     .A rrestw arrants
     @Jury verdict
     *
         Jury notes (unredacted)
     .
         Juryselection materials (seating charts,challenges,etcv)

 oate,        !lINo//#-
                                                                    Revised:.8/20/2012
